    Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 1 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )        CIVIL ACTION NO.
                                           )
              Plaintiff;                   )      15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )    NOTICE OF DEPOSITION OF
                                           )        DENNIS MEHIEL
Dennis Mehiel, Robert Serpico, The Battery )
Park City Authority, Howard Milstein,      )
Steven Rossi, Janet Martin, Milford        )
Management, Mariners Cove Site B           )
                                           )
Associates                                 )
                                           )
              Defendants.                  )
                                           )
                                           )
                                           )
                                            )




                                                Steven Greer, pro se
                                                4674 Tatersall Court
                                                Columbus, Ohio 43230
                                                (212) 945-7252
                                                steve@batterypark.tv




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     Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 2 of 8



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, and the order by Judge Cott (Dkt. No. 299) Steven Greer will take the deposition of

defendant Dennis Mehiel on April 3rd, 2017, commencing at 10:00 AM at the federal

courthouse located at 500 Pearl Street, New York, New York, courtroom 14A. The

deposition will be videotaped and taken before a court reporter to be supplied by the defendants.



Dated: March 29, 2017
       New York, NY


/s/ Steven Greer, pro se
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    Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 3 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )        CIVIL ACTION NO.
                                           )
              Plaintiff;                   )      15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )    NOTICE OF DEPOSITION OF
Dennis Mehiel, Robert Serpico, The Battery )
                                                   HOWARD MILSTEIN
Park City Authority, Howard Milstein,      )
Steven Rossi, Janet Martin, Milford        )
Management, Mariners Cove Site B           )
Associates
                                           )
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              Defendants.                  )
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     Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 4 of 8



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, and the order by Judge Cott (Dkt. No. 299) Steven Greer will take the deposition of

defendant Howard Milstein on April 7th, 2017, commencing at 10:00 AM at the federal

courthouse located at 500 Pearl Street, New York, New York, courtroom 14A. The

deposition will be videotaped and taken before a court reporter to be supplied by the defendants.



Dated: March 29, 2017
       New York, NY


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    Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 5 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )        CIVIL ACTION NO.
                                           )
              Plaintiff;                   )      15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )    NOTICE OF DEPOSITION OF
Dennis Mehiel, Robert Serpico, The Battery )
                                                     KARL KOENIG
Park City Authority, Howard Milstein,      )
Steven Rossi, Janet Martin, Milford        )
Management, Mariners Cove Site B           )
Associates
                                           )
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                                           )
              Defendants.                  )
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                                                Steven Greer, pro se
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     Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 6 of 8



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, and the order by Judge Cott (Dkt. No. 299) Steven Greer will take the deposition of

defendant Karl Koenig on April 6th, 2017, commencing at 1:00 PM at the federal courthouse

located at 500 Pearl Street, New York, New York, courtroom 14A. The deposition will be

videotaped and taken before a court reporter to be supplied by the defendants.



Dated: March 29, 2017
       New York, NY


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    Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 7 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )        CIVIL ACTION NO.
                                           )
              Plaintiff;                   )      15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )    NOTICE OF DEPOSITION OF
Dennis Mehiel, Robert Serpico, The Battery )
                                                    KEVIN MCCABE
Park City Authority, Howard Milstein,      )
Steven Rossi, Janet Martin, Milford        )
Management, Mariners Cove Site B           )
Associates
                                           )
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                                           )
              Defendants.                  )
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                                            )




                                                Steven Greer, pro se
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     Case 1:15-cv-06119-AJN-JLC Document 315-1 Filed 04/11/17 Page 8 of 8



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, and the order by Judge Cott (Dkt. No. 299) Steven Greer will take the deposition of

defendant Kevin McCabe on April 6th, 2017, commencing at 10:00 AM at the federal

courthouse located at 500 Pearl Street, New York, New York, courtroom 14A. The

deposition will be videotaped and taken before a court reporter to be supplied by the defendants.



Dated: March 29, 2017
       New York, NY


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